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 UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                         §
                                                 §
versus                                           §   CASE NO. 1:15-CR-114-2
                                                 §
MARY COLLIER                                     §

                ORDER ADOPTING REPORT AND RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE

         Before the court is a report and recommendation of the United States magistrate judge

regarding the Defendant’s competency for trial. The parties have not filed objections to the report.

         Having conducted an independent review, the court concludes that the Defendant is

competent to stand trial because she is able to understand the nature and consequences of the

proceedings against her, and able to assist her attorney in her defense. It is therefore

         ORDERED that the report and recommendation of the United States magistrate judge on

the Defendant’s competency to stand trial is ADOPTED. It is further

         ORDERED that the Defendant, Mary Collier, is competent. The speedy trial time shall

be excluded
        . from September 14, 2015 until the date of this order.
        SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 2nd day of March, 2016.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
